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                                                           13

                                                           14
                                                                                   UNITED STATES DISTRICT COURT
                                                           15                     CENTRAL DISTRICT OF CALIFORNIA
                                                           16

                                                           17   RUFINA MOLINA, ESTATE OF LUIS                CASE NO. CV16-1293 ODW(ASx)
                                                                MARTINEZ, by and through successor in        Hon. Otis D. Wright
                                                           18   interest, RUFINA MOLINA,
                                                           19                Plaintiffs,                     DEFENDANTS’ JOINT MOTION
                                                                v.                                           FOR SUMMARY JUDGMENT
                                                           20                                                OR, IN THE ALTERNATIVE,
                                                           21   CITY OF LOS ANGELES; RICARDO                 MOTION FOR PARTIAL
                                                                HUERTA, RUDOLPH RIVERA, ALDO                 SUMMARY JUDGMENT
                                                           22   QUINTERO, and DOES 1 through 10,
                                                           23   inclusive,                                   [Filed Concurrently with Statement
                                                                           Defendants.                       of Uncontroverted Facts; Appendix
                                                           24                                                of Exhibits; Declarations; and
                                                           25                                                [Proposed] Order]
                                                           26                                                Date: February 13, 2017
                                                           27                                                Time: 1:30 p.m.
                                                                                                             Courtroom: 5D
                                                           28

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                                                                                DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1
                                                                                                                 Action Filed: April 22, 2015
                                                            2                                                    Trial Date: April 4, 2017
                                                            3

                                                            4   TO THE HONORABLE COURT AND ALL PARTIES HEREIN:
                                                            5         PLEASE TAKE NOTICE that at 1:30 p.m. on Monday, February 13, 2017
                                                            6
                                                                or as soon thereafter as the matter may be heard in Courtroom 5D, before the
                                                            7
                                                                Honorable Otis D. Wright, United States District Court Judge, located at 350 W.
                                                            8
                                                                1st Street, 5th Floor, Los Angeles, CA 90012, defendants City of Los Angeles,
                                                            9

                                                           10   Ricardo Huerta, Rudolph Rivera, and Aldo Quintero (hereinafter referred to as

                                                           11   “City,” “Huerta,” “Rivera,” and “Quintero” respectively and as “defendants”
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                                                           12   collectively) will and hereby do move this Court, pursuant to Rule 56 of the
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                                                           13
                                                                Federal Rules of Civil Procedure, for summary judgment or, in the alternative,
                                                           14
                                                                partial summary judgment against plaintiffs on the grounds that there are no
                                                           15
                                                                genuine issues of material fact with regard to the following issues raised in the
                                                           16

                                                           17   First Amended Complaint (“FAC”):

                                                           18         1. Plaintiffs’ first cause of action for excessive force/unreasonable seizure
                                                           19            fails as a matter of law;
                                                           20
                                                                      2. Plaintiffs’ second cause of action for interference with familial integrity
                                                           21
                                                                         as a substantive due process violation fails as a matter of law; and
                                                           22
                                                                      3. Plaintiffs’ third cause of action for municipal liability for unconstitutional
                                                           23

                                                           24            customs and practices fails as a matter of law.

                                                           25         This motion is based upon this Notice of Motion and Motion, the
                                                           26   Memorandum of Points and Authorities attached hereto, the declarations of
                                                           27
                                                                Matthew W. McAleer, Ricardo Huerta, Rudolph Rivera and Aldo Quintero, all
                                                           28

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                                                                                 DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1   papers, pleadings, and records on file herein, the Statement of Uncontroverted
                                                            2
                                                                Facts, and Appendix of Exhibits filed concurrently herewith and on such other
                                                            3
                                                                matters as may properly come before the Court before or at the hearing.
                                                            4
                                                                                             MEET AND CONFER
                                                            5

                                                            6         Pursuant to local rule 7-3, defense counsel attempted to meet and confer

                                                            7   with counsel for plaintiffs on numerous occasions regarding the issues raised in the
                                                            8   instant motion. However, plaintiffs’ counsel did not meet and confer with defense
                                                            9
                                                                counsel at any of the agreed-upon times thereby refusing to dismiss any portion of
                                                           10
                                                                the FAC thus necessitating the instant motion. (Decl. McAleer ¶¶3-8)
                                                           11
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                                                                DATED: January 13, 2017         COLLINSON LAW
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                                                           13                                   A Professional Corporation
                                                           14
                                                                                                By: ______/s/____________________
                                                           15                                        Laura E. Inlow, Esq.
                                                           16
                                                                                                     Matthew W. McAleer, Esq.
                                                                                                     Attorneys for Defendants,
                                                           17                                        Ricardo Huerta, Rudolph Rivera, and
                                                           18                                        Aldo Quintero

                                                           19   DATED: January 13, 2017         MICHAEL N. FEUER, City Attorney
                                                           20                                   THOMAS H. PETERS, Chief Assistant City
                                                                                                Attorney
                                                           21                                   CORY M. BRENTE, Assistant City Attorney
                                                           22

                                                           23                                   By: _________/s/________________________
                                                           24                                         RENA M. SHAHANDEH, Deputy City
                                                                                                      Attorney
                                                           25                                         Attorneys for Defendant, City of Los
                                                           26                                         Angeles

                                                           27

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                                                                                              DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1                MEMORANDUM OF POINTS AND AUTHORITIES
                                                            2
                                                                 I.   STATEMENT OF FACTS
                                                            3
                                                                      Plaintiffs Rufina Molina (hereinafter “Molina”) and the Estate of Luis
                                                            4
                                                                Martinez, by and through its successor in interest, Rufina Molina, filed the
                                                            5

                                                            6   operative First Amended Complaint (FAC) on April 21, 2016 arising out of the

                                                            7   death of Molina’s son, Luis Martinez (hereinafter “Martinez”), on April 21, 2015.
                                                            8   The FAC alleges three causes of action as follows: 1) excessive force/improper
                                                            9
                                                                seizure of the decedent under the Fourth Amendment, 2) interference with familial
                                                           10
                                                                integrity under the Fourteenth Amendment, and 3) a Monell claim against the City
                                                           11
                                                                of Los Angeles under 42 U.S.C. §1983. (UMF 1)
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                                                                      On Tuesday, April 21, 2015, at approximately 4:25 p.m., Monica Ramirez
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                                                           14   telephoned 911 to report that her husband, Luis Martinez, had stabbed himself with
                                                           15   a knife but was no longer armed. Ms. Ramirez reported to the 911 operator that
                                                           16
                                                                Martinez was depressed and in need of emergency medical treatment at their
                                                           17
                                                                apartment located in Los Angeles. (UMF 2) According to Ms. Ramirez, she had
                                                           18
                                                                entered their bedroom and observed Martinez sitting in a wheelchair with the front
                                                           19

                                                           20   of his shirt covered in blood and a kitchen knife lying across his lap. When

                                                           21   Martinez would not speak, Ms. Ramirez concluded that he had stabbed himself and
                                                           22   she tried unsuccessfully to convince him to go to an emergency room with her.
                                                           23
                                                                After taking the knife away from Martinez, she called 911 to request an
                                                           24
                                                                ambulance. (UMF 3) Martinez had been using a wheelchair during his
                                                           25
                                                                convalescence after fracturing his pelvis when he jumped or fell off the third floor
                                                           26

                                                           27   of his apartment building while high on methamphetamines on January 21, 2015.

                                                           28   (UMF 4)
                                                                                                        1
                                                                                 DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1         The LAPD Communications Division broadcast a radio call for an attempted
                                                            2
                                                                suicide at the residence of Ms. Ramirez and Martinez. The call was assigned to
                                                            3
                                                                LAPD Officer Aaron Skiver and his partner defendant Huerta. (UMF 5) Officer
                                                            4
                                                                Huerta shared the comments related to the incident, that Martinez was suffering
                                                            5

                                                            6   from depression, had stabbed himself but was no longer armed, with Officer

                                                            7   Skiver. (UMF 6) At approximately 4:34 p.m., Officers Skiver and Huerta parked
                                                            8   their vehicle in front of Martinez’s apartment complex. (UMF 7) At about the
                                                            9
                                                                same time, defendant Quintero arrived at the location and joined Officers Skiver
                                                           10
                                                                and Huerta. (UMF 8) After finding that the lobby entrance doors were locked,
                                                           11
                                                                Officer Skiver gained entry to the apartment building by using his pocketknife to
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                                                                open a nearby stairwell door. (UMF 9) Once inside, Officers Skiver and Quintero
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                                                           13

                                                           14   went to the fourth floor while Officer Huerta remained in the lobby to prop open
                                                           15   the entrance door for other LAPD units and the Fire Department who he knew
                                                           16
                                                                were also responding. (UMF 10)
                                                           17
                                                                      As Officers Skiver and Quintero made their way up the stairwell of the
                                                           18
                                                                apartment complex, Officer Quintero donned a pair of latex gloves so as to be
                                                           19

                                                           20   ready to render first aid to Martinez based upon the likelihood that he was

                                                           21   bleeding. (UMF 11) Each of the defendant officers were trying to reach Martinez
                                                           22   quickly to render medical aid until the paramedics arrived. (UMF 12) Officers
                                                           23
                                                                Huerta and Skiver had a Taser in their car but did not bring it up to the apartment
                                                           24
                                                                because they were concerned with getting to the location quickly to render aid.
                                                           25
                                                                (UMF 13) Officer Quintero did not have a Taser on April 21, 2015. (UMF 14)
                                                           26

                                                           27          Upon reaching the fourth floor, Officers Skiver and Quintero saw Ms.

                                                           28   Ramirez standing just outside of her apartment at the opposite end of the landing.
                                                                                                        2
                                                                                 DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1   (UMF 15) Ms. Ramirez waved the officers over and when they arrived she told
                                                            2
                                                                them that Martinez had cut himself with a knife because he was depressed but that
                                                            3
                                                                he was no longer armed as she had taken the knife away and placed it on the
                                                            4
                                                                kitchen counter. Ms. Ramirez directed the officers into her apartment. (UMF 16)
                                                            5

                                                            6   Less than a minute later, defendant Rivera and his partner, Officer Jack Tuck, as

                                                            7   well as Detective Steven Juarez arrived at the apartment building and met Officer
                                                            8   Huerta in the lobby of the apartment complex. The entire incident lasted about five
                                                            9
                                                                minutes after Officers Rivera and Tuck arrived. (UMF 17) Officers Rivera and
                                                           10
                                                                Tuck had a Taser in their car but did not bring it up to the apartment because they
                                                           11
                                                                were also concerned about getting there quickly to render aid. All four officers
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                                                                took the elevator to the fourth floor of the complex to join Officers Skiver and
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                                                           13

                                                           14   Quintero. (UMF 18)
                                                           15         Officers Skiver and Quintero were the first to enter Martinez’s apartment.
                                                           16
                                                                They observed him seated in a wheelchair in the center of the living room,
                                                           17
                                                                approximately 17 feet from the entrance of the apartment. (UMF 19) Officer
                                                           18
                                                                Quintero observed that Martinez’s shirt was covered in blood and he believed that
                                                           19

                                                           20   Martinez had sustained a significant injury. (UMF 20) As he approached

                                                           21   Martinez, Officer Skiver asked him what was wrong and where he was injured, but
                                                           22   Martinez did not respond. (UMF 21)
                                                           23
                                                                      As Officer Skiver came within approximately five feet of Martinez,
                                                           24
                                                                Martinez used his feet to roll himself backward in his wheelchair until he reached a
                                                           25
                                                                sliding glass door on the north side of the living room. Officer Skiver again asked
                                                           26

                                                           27   Martinez what was wrong and how they could help him, but Martinez remained

                                                           28   silent. (UMF 22) Martinez then reached underneath his right thigh and pulled out
                                                                                                        3
                                                                                 DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1   an approximately eight and half inch fixed-blade knife that he had been concealing.
                                                            2
                                                                (UMF 23) The knife Martinez had in the wheelchair was not the same knife that
                                                            3
                                                                he had initially used to stab himself. (UMF 24) Martinez held the knife in his
                                                            4
                                                                right hand with his arm fully extended in front of him and the blade pointing
                                                            5

                                                            6   outward. Officer Skiver announced several times that Martinez had a knife while

                                                            7   he began walking backward away from Martinez. (UMF 25) In response to seeing
                                                            8   the knife, Officers Skiver and Quintero un-holstered their pistols but kept them at
                                                            9
                                                                the low ready position. (UMF 26) Officers Tuck, Rivera, Huerta and Juarez
                                                           10
                                                                arrived at the apartment just as Officer Skiver announced that Martinez had the
                                                           11
                                                                knife. (UMF 27)
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                                                           13
                                                                      Out of concern for Ms. Ramirez’s safety, she was escorted out of the
                                                           14
                                                                apartment and into the hallway. She then went to the apartment of her neighbors in
                                                           15
                                                                Unit 402. (UMF 28) Officer Skiver repeatedly ordered Martinez in English to
                                                           16

                                                           17   drop the knife and put his hands up but Martinez neither complied nor responded.

                                                           18   (UMF 29) Officer Quintero then gave similar commands in Spanish, but Martinez
                                                           19   did not comply or respond. (UMF 30) Martinez slowly pushed himself out of his
                                                           20
                                                                wheelchair to a standing position. Without saying a word, Martinez then began
                                                           21
                                                                walking toward the officers with the knife clenched in his right hand. After taking
                                                           22
                                                                about five to six steps, Martinez walked back and sat down again. (UMF 31)
                                                           23

                                                           24         Officer Skiver reiterated his command for Martinez to drop the knife and

                                                           25   telling him that the officers were there to help, but Martinez neither complied nor
                                                           26   responded. (UMF 32) Within a few moments, Martinez stood up again and began
                                                           27
                                                                pacing in the living room. Officers Rivera and Huerta now stood on either side of
                                                           28

                                                                                                         4
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                                                            1   Officer Skiver near the threshold of the apartment and attempted to communicate
                                                            2
                                                                with Mr. Martinez in Spanish, but he did not respond. (UMF 33) Martinez was
                                                            3
                                                                told repeatedly to drop the knife, that the officers just wanted to help him and that
                                                            4
                                                                he did not want to do this. However, throughout the incident, Martinez never said a
                                                            5

                                                            6   word. (UMF 34)

                                                            7         While watching Martinez from the doorway, Officer Skiver asked Officer
                                                            8   Tuck to retrieve a Taser from his vehicle. Officer Tuck acknowledged the request
                                                            9
                                                                and left the scene to obtain a Taser. (UMF 35) At about the same time, Detective
                                                           10
                                                                Juarez broadcast a radio request for additional units on an emergency basis. (UMF
                                                           11
                                                                36) The shooting occurred about a minute later before Officer Tuck returned.
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                                                                (UMF 37) Officer Skiver directed the other officers to step back out of the
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                                                           13

                                                           14   threshold of the apartment to create more space between themselves and Martinez.
                                                           15   (UMF 38)
                                                           16
                                                                      Martinez then stopped pacing in the living room and re-adjusted his hold on
                                                           17
                                                                the knife to an overhand grip. He placed the tip of the blade against his chest and
                                                           18
                                                                pushed it an inch or two into his body by hitting on the handle with his other hand.
                                                           19

                                                           20   (UMF 39) The officers continued to give Martinez commands to drop the knife in

                                                           21   English and Spanish and reassured him they were there to help, but Martinez
                                                           22   merely shook his head side to side as if indicating “no.” (UMF 40) Martinez then
                                                           23
                                                                pulled the knife out of his chest and began walking toward the officers with the
                                                           24
                                                                knife pointed toward the officers. (UMF 41) In response, the officers stepped
                                                           25
                                                                completely out of the apartment and into the exterior hallway. Officers Quintero,
                                                           26

                                                           27   Skiver and Huerta moved to the left of the entrance of the apartment while Officer

                                                           28   Rivera stepped straight back. (UMF 42) Officer Rivera walked straight backward
                                                                                                        5
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                                                            1   rather than to the left with his fellow officers so as to maintain visual contact with
                                                            2
                                                                Martinez and to stay out of the other officers’ potential line of fire. (UMF 43)
                                                            3
                                                                      As Martinez approached the threshold of the apartment, he was still gripping
                                                            4
                                                                the knife in his right hand with his arm extended outward. Martinez appeared to be
                                                            5

                                                            6   focused on Officer Rivera and pointed the blade toward him as he walked in his

                                                            7   direction. (UMF 44) Officer Rivera ordered Martinez to stop and drop the knife
                                                            8   multiple times while he simultaneously kept stepping backward. (UMF 45)
                                                            9
                                                                Officer Rivera also told the other officers, who were no longer in a position to see
                                                           10
                                                                Martinez, that Martinez was about to exit the residence. (UMF 46) After moving
                                                           11
                                                                backward approximately 7 to 8 feet, Officer Rivera found himself in an alcove that
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                                                                had a solid wall behind him and to his left and a metal railing to his right so that he
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                                                           13

                                                           14   had no more ground to surrender to Martinez. (UMF 47)
                                                           15         As Martinez walked toward Officer Rivera at a fast pace, he leaned forward
                                                           16
                                                                and held the knife pointed outward toward Officer Rivera. (UMF 48) Officer
                                                           17
                                                                Rivera stated out loud that he did not want to have to shoot Martinez, but Martinez
                                                           18
                                                                kept advancing. (UMF 49) When Martinez was within approximately three to five
                                                           19

                                                           20   feet of Officer Rivera, Officer Rivera believed that Martinez was trying to stab or

                                                           21   kill him and fired one round. (UMF 50) Martinez fell to the floor but immediately
                                                           22   used his left arm to prop up his upper torso. Martinez looked up at Officer Rivera,
                                                           23
                                                                lunged forward with the knife in his right hand, and attempted to stab Officer
                                                           24
                                                                Rivera in the leg by swinging the knife in a side-to-side motion. (UMF 51) In
                                                           25
                                                                response, Officer Rivera fired a second round at Martinez’s upper torso area.
                                                           26

                                                           27   (UMF 52)

                                                           28         Officer Huerta saw Martinez push himself up using his left arm and lunge
                                                                                                         6
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                                                            1   forward within one to two feet of Officer Rivera with the knife clenched in his
                                                            2
                                                                hand. Believing that Martinez was trying to stab Officer Rivera, he fired one
                                                            3
                                                                round at Martinez from a distance of approximately five feet. (UMF 53) Officer
                                                            4
                                                                Quintero also saw Martinez fall to the ground after being shot by Officer Rivera,
                                                            5

                                                            6   support himself with his left hand, and attempt to lunge toward Officer Rivera with

                                                            7   the knife tightly clenched in his hand with the blade pointed toward Officer Rivera.
                                                            8   In defense of Officer Rivera’s life, Officer Quintero fired two rapid shots at
                                                            9
                                                                Martinez from a distance of approximately four feet. (UMF 54)
                                                           10
                                                                       After the shots were fired, Martinez was lying face down with his right arm
                                                           11
                                                                extended in front of him, still holding the knife. Officer Skiver used his right foot
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                                                                to kick the knife out of Martinez’s right hand. (UMF 55) Martinez was then
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                                                           13

                                                           14   placed in handcuffs. (UMF 56)
                                                           15         Firefighter/emergency medical personnel had arrived on the scene prior to
                                                           16
                                                                the shooting and and evaluated Martinez within seconds of him being placed in
                                                           17
                                                                handcuffs. (UMF 57) With the assistance of Officers Skiver and Huerta, the
                                                           18
                                                                LAFD personnel placed Martinez on a gurney and immediately began performing
                                                           19

                                                           20   cardiopulmonary resuscitation. Despite their efforts, LAFD personnel were unable

                                                           21   to revive Martinez and he was pronounced dead at the scene. (UMF 58)
                                                           22         In April of 2015, LAPD policy did not require that patrol officers be in
                                                           23
                                                                possession of a Taser. (UMF 59) If a patrol officer checked out a Taser in April of
                                                           24
                                                                2015, they were not required to carry the Taser on their person. (UMF 60) In
                                                           25
                                                                April of 2015, LAPD policy authorized an officer to use of deadly force to protect
                                                           26

                                                           27   himself/herself or others from what was reasonably believed to be an imminent

                                                           28   threat of death or serious bodily injury. (UMF 61)
                                                                                                        7
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                                                            1         Plaintiff Molina does not represent the estate of the decedent and is not its
                                                            2
                                                                successor-in-interest. She has not filed an affidavit asserting standing for
                                                            3
                                                                maintaining an action for survival in the State of California. Moreover, she has
                                                            4
                                                                admitted in written discovery that she has no documents establishing that she is
                                                            5

                                                            6   representing the estate. (UMF 62) In contrast, the decedent was survived by a

                                                            7   wife and children, who did file an affidavit asserting their status as successors in
                                                            8   interest to the estate in an action in the Los Angeles Superior Court arising out of
                                                            9
                                                                this same incident. (UMF 63) Furthermore, Molina does not believe that the
                                                           10
                                                                decedent had a will. (UMF 64)
                                                           11
                                                                II.   AUTHORITY FOR MOTION
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                                                                      Summary judgment is appropriate when it is demonstrated that there exists
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                                                           13

                                                           14   no genuine issue as to any material fact, and that the moving party is entitled to
                                                           15   judgment as a matter of law. (FRCP 56(c); Adickes v. S.H. Kress & Co. (1970) 398
                                                           16
                                                                U.S. 144, 157; Fortyune v. American Multi- Cinema, Inc.(9th Cir. 2004) 364 F. 3d
                                                           17
                                                                1075, 1080). “[W]here the nonmoving party will bear the burden of proof at trial
                                                           18
                                                                on a dispositive issue, a summary judgment motion may properly be made in
                                                           19

                                                           20   reliance solely on the ‘pleadings, depositions, answers to interrogatories, and

                                                           21   admissions on file.” (Celotex Corp v. Catrett (1986) 477 U.S. 317, 323).
                                                           22   Summary judgment should be entered against a party who fails to make a showing
                                                           23
                                                                sufficient to establish the existence of an element essential to that party’s case, and
                                                           24
                                                                on which that party will bear the burden of proof at trial. (Id. at 322). “[A]
                                                           25
                                                                complete failure of proof concerning an essential element of the nonmoving party’s
                                                           26

                                                           27   case necessarily renders all other facts immaterial.” (Id.) The moving party has no

                                                           28   burden to negate or disprove matters on which the non-moving party has the
                                                                                                         8
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                                                            1   burden of proof at trial, but need only point out to the Court through argument an
                                                            2
                                                                absence of evidence to support the non-moving party’s case. (Devereaux v. Abbey
                                                            3
                                                                (9th Cir. 2001) 263 F.3d 1070, 1076).
                                                            4
                                                                      The opposing party may not rely upon the mere allegations or denials of its
                                                            5

                                                            6   pleadings, but is required to tender evidence of specific facts in the form of

                                                            7   affidavits and/or admissible discovery material, in support of its contention that the
                                                            8   dispute exists. (FRCP 56 (c); Matsushita Elec. Indus. Co. v. Zenith Radio Corp.
                                                            9
                                                                (1986) 475 U.S. 574, 586). The “purpose of summary judgment is to ‘pierce the
                                                           10
                                                                pleadings and to assess the proof in order to see whether there is a genuine need for
                                                           11
                                                                trial.” (Id. at 587). To demonstrate a genuine issue, the opposing party “must do
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                                                                more than simply show that there is a mere metaphysical doubt as to the material
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                                                           13

                                                           14   facts…Where the record taken as a whole could not lead a rational trier of fact to
                                                           15   find for the nonmoving party there is no ‘genuine issue for trial.” (Id.; Scott v.
                                                           16
                                                                Harris (2007) 550 U.S. 372, 380). Conclusory allegations unsupported by factual
                                                           17
                                                                data will not create a triable issue of fact allowing a party to survive a summary
                                                           18
                                                                judgment motion. (Marks v. U.S. (9th Cir. 1978) 578 F.2d 261, 263; FTC v.
                                                           19

                                                           20   Publ’g Clearing House, Inc. (9th Cir. 1996) 104 F.3d 1168, 117).

                                                           21         As set forth more fully below, there are no triable issues of material fact
                                                           22   which could defeat this motion. The facts demonstrate that plaintiffs cannot prove
                                                           23
                                                                the requisite elements of any of their claims against defendants. While it is
                                                           24
                                                                anticipated that plaintiffs will attempt to make factual allegations, any alleged
                                                           25
                                                                “facts” are based on unsupported speculation, making them immaterial. Therefore,
                                                           26

                                                           27   defendants are entitled to summary judgment or partial summary judgment as there

                                                           28   are no facts to support plaintiffs’ allegations.
                                                                                                         9
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                                                            1   III.   PLAINTIFFS’ CLAIM OF EXCESSIVE FORCE/UNREASONABLE
                                                            2
                                                                   SEIZURE FAILS
                                                            3
                                                                       To establish a claim of excessive force under the Fourth Amendment,
                                                            4
                                                                plaintiffs must show that defendants used an amount of force that was objectively
                                                            5

                                                            6   unreasonable under the totality of the circumstances from the perspective of a

                                                            7   reasonable officer at the scene. (Graham v. Connor (1989) 490 U.S. 386, 397).
                                                            8   Determining whether the force used is reasonable under the Fourth Amendment
                                                            9
                                                                “requires a careful balancing of the nature and quality of the intrusion on the
                                                           10
                                                                individual’s Fourth Amendment interests against the countervailing governmental
                                                           11
                                                                interests at stake.” (Id. at 396). This balancing test entails consideration of the
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                                                                totality of the facts and circumstances in the particular case, including “the severity
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                                                           13

                                                           14   of the crime at issue, whether the suspect poses an immediate threat to the safety of
                                                           15   the officers or others, and whether he is actively resisting arrest or attempting to
                                                           16
                                                                evade arrest by flight.” (Id.).
                                                           17
                                                                       Moreover, the reasonableness of a particular use of force must be judged
                                                           18
                                                                from the perspective of a reasonable officer on the scene, rather than with the
                                                           19

                                                           20   20/20 vision of hindsight. (Jackson v. City of Bremerton (9th Cir. 2001) 268 F.3d

                                                           21   646). The consideration of reasonableness must “embody allowance for the fact
                                                           22   that police officers are often forced to make split-second judgments – in
                                                           23
                                                                circumstances that are tense, uncertain, and rapidly evolving – about the amount of
                                                           24
                                                                force that is necessary in a particular situation.” (Id.) “Not every push or shove,
                                                           25
                                                                even if it may later seem unnecessary in the peace of a judge’s chambers’ violates
                                                           26

                                                           27   the Fourth Amendment.” (Id.) Police “are not required to use the least intrusive

                                                           28   degree of force possible,” but the inquiry is whether the force that was used to
                                                                                                         10
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                                                            1   effect a particular seizure was reasonable, viewing the facts from the perspective of
                                                            2
                                                                a reasonable officer on the scene. (Forrester v. City of San Diego (9th Cir. 1994)
                                                            3
                                                                25 F.3d 804, 808). During a lawful encounter, officers are “authorized to take such
                                                            4
                                                                steps as [are] reasonably necessary to protect their personal safety and to maintain
                                                            5

                                                            6   the status quo...” (U.S. v. $109,179 (9th Cir. 2000) 228 F.3d 1080, 1084).

                                                            7         Further, even if the Fourth Amendment rights of Martinez were violated,
                                                            8   those rights were personal to him and plaintiffs lack standing to raise that issue.
                                                            9
                                                                (Alderman v. U.S. (1969) 394 U.S. 165; Smith v. City of Fontana (9th Cir. 1987)
                                                           10
                                                                818 F.2d 1411). Here, as explained below, the defendant officers were in
                                                           11
                                                                justifiable fear for the life of defendant Rivera based upon the actions of Martinez.
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                                                                          a. Martinez Posed an Immediate and Deadly Threat to Officer Rivera
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                                                           13

                                                           14         An officer may reasonably use deadly force when he confronts a suspect in
                                                           15   close proximity whose actions indicate intent to attack; in those circumstances, the
                                                           16
                                                                court cannot ask officers to hold fire in order to ascertain whether the suspect will,
                                                           17
                                                                in fact, injure or murder the officer. (Martinez v. County of Los Angeles (1996) 47
                                                           18
                                                                Cal. App.4th 334).
                                                           19

                                                           20         For example, in Blanford v. Sacramento County (9th Cir. 2005) 406 F.3d

                                                           21   1110, 2005 U.S. App. LEXIS 7893, two sheriff’s deputies responded to a report
                                                           22   that a man wearing a ski mask and carrying a sword was walking through a
                                                           23
                                                                residential neighborhood and behaving erratically. The deputies located Blanford,
                                                           24
                                                                who was walking in the opposite direction carrying a 2 ½ foot long saber by the
                                                           25
                                                                handle and wearing a ski mask pulled back from his face. The deputies got out of
                                                           26

                                                           27   their vehicle, drew their guns, and one of them called out, “‘Sheriff’s department,

                                                           28   stop, drop the sword.’” (Ibid). Blanford kept walking and did not notice the
                                                                                                         11
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                                                            1   deputies because unbeknownst to the deputies, he was wearing headphones and
                                                            2
                                                                listening to music at a high volume. (Ibid). The deputies followed Blanford at a
                                                            3
                                                                distance of approximately 20 to 25 feet with their guns aimed at him, continuing to
                                                            4
                                                                shout commands to drop the sword and warning that they would shoot. (Id. at
                                                            5

                                                            6   1112-13). Blanford continued walking up to the front door of a private home,

                                                            7   searched his pockets and knocked on the door. No one answered, and Blanford
                                                            8   walked around the side of the house toward where there was a gate to the back
                                                            9
                                                                yard. The deputies again commanded Blanford to drop the sword, but he did not.
                                                           10
                                                                Both deputies fired their guns at Blanford as he rounded a corner to the gate
                                                           11
                                                                because they were concerned that he posed a danger to anyone in the yard or
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                                                                house. At least one shot struck Blanford, but he continued and went through the
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                                                           13

                                                           14   gate, closing it behind him. One of the deputies opened the gate and saw Blanford
                                                           15   trying to open a door to the garage which led to the house. The deputy ordered
                                                           16
                                                                Blanford again to drop the sword, but Blanford continued to try to open the door.
                                                           17
                                                                The deputy fired at Blanford again, hitting his wrist, because he was concerned that
                                                           18
                                                                Blanford might get into the residence and hurt or kill someone inside.
                                                           19

                                                           20   (Ibid). Blanford turned and walked toward the back yard, still holding the sword,

                                                           21   and the deputy continued firing, severing Blanford’s spine and rendering him a
                                                           22   paraplegic. It was later discovered that the house was Blanford’s parents’ house.
                                                           23
                                                                Only about fourteen seconds passed between the first and last shots, and the entire
                                                           24
                                                                encounter took approximately two minutes. (Id. at 1113-14).
                                                           25
                                                                      Blanford filed a civil suit against the deputies, the County, the Sheriff’s
                                                           26

                                                           27   Department and the Sheriff, alleging, inter alia, excessive force and false arrest

                                                           28   under 42 U.S.C. § 1983, Monell liability, assault and battery and negligence.
                                                                                                        12
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                                                            1   (Blanford, supra, 406 F.3d at 1114). The District Court granted summary
                                                            2
                                                                judgment in favor of the defendants, finding that “[the deputies] acted in an
                                                            3
                                                                objectively reasonable manner in firing each volley, because a reasonable officer in
                                                            4
                                                                their position at the time would have believed that Blanford presented an imminent
                                                            5

                                                            6   threat of death or serious bodily injury to persons inside the house or yard of [the

                                                            7   residence], or to themselves.” (Ibid). The Ninth Circuit ruled that “The deputies’
                                                            8   decision to fire was based upon Blanford’s refusal to heed warnings and
                                                            9
                                                                commands to drop the sword, as well as his attempt to enter a private residence and
                                                           10
                                                                backyard with a lethal weapon. These facts, objectively, and reasonably, led the
                                                           11
                                                                deputies to conclude that the situation could not be resolved by talking, and that
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                                                                Blanford posed an immediate and unacceptable risk of harming whoever was in the
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                                                           13

                                                           14   house or yard should he be allowed to escape beyond the gate.” (Id. at 1116).
                                                           15           Similarly, in Cosentino v. Kurtz, 2013 U.S. Dist. LEXIS 69218 (C.D. Cal.
                                                           16
                                                                2013), Downey police officers were granted summary judgment in a Fourth
                                                           17
                                                                Amendment Section 1983 case when they shot and killed a man who was carrying
                                                           18
                                                                an axe in the middle of the street and who ignored orders to drop the axe and
                                                           19

                                                           20   moved toward the police officers’ vehicle. (Id. at *3-6). Despite a dispute over

                                                           21   whether the suspect raised the axe and despite the fact that there was no evidence
                                                           22   the suspect committed a violent crime, the court found the use of deadly force
                                                           23
                                                                objectively reasonable under the Fourth Amendment. (Id. at *19-20).
                                                           24
                                                                      Here, the defendant officers justifiably feared for the life of Officer Rivera
                                                           25
                                                                for the following reasons:
                                                           26
                                                                       1. Despite the officers repeated commands and pleas, Martinez refused to
                                                           27          drop his knife;
                                                           28

                                                                                                        13
                                                                                 DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1
                                                                       2. Martinez followed the officers out of the entrance of the apartment and
                                                                       advanced on them while displaying the eight and one half inch knife in a
                                                            2          threatening manner;
                                                            3
                                                                       3. Martinez focused his attention on Officer Rivera, pointed the knife at
                                                            4          him, ignored Officer Rivera’s commands to stop, and advanced to within
                                                            5          three to five feet of Officer Rivera while threatening him with the knife; and

                                                            6          4. After Martinez fell to the ground, he immediately began slashing at
                                                            7          Officer Rivera’s legs, which reasonably could have been thought to have
                                                                       imminently caused death or a serious life-threatening injury.
                                                            8
                                                                       Therefore, the defendant officers reasonably believed that Martinez’s actions
                                                            9
                                                                posed an immediate and deadly threat to Officer Rivera’s life which justified their
                                                           10

                                                           11   use of deadly force.
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                                                           12             b. No Specific Warning Required Before Using Deadly Force
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                                                           13          Defendants anticipate that plaintiffs will argue that defendants should have
                                                           14
                                                                given an explicit warning, such as, “drop the knife or I’ll shoot,” and in the
                                                           15
                                                                absence of such an explicit warning, the officers’ use of deadly force was
                                                           16
                                                                objectively unreasonable. However, as explained below, no such explicit “if/then”
                                                           17

                                                           18   warning is required. Instead, for the use of force to be reasonable, a police officer
                                                           19   needs only to give appropriate instructions on how to comply before force is used
                                                           20   “if feasible.”
                                                           21
                                                                       The Graham factors for evaluating the propriety of a use of force are not
                                                           22
                                                                exclusive; instead, the Court must “examine the totality of the circumstances and
                                                           23
                                                                consider whatever specific factors may be appropriate in a particular case, whether
                                                           24

                                                           25   or not listed in Graham.” (Glenn v. Washington City (9th Cir. 2011) 673 F.3d 864,
                                                           26   872). One such additional factor is whether or not a warning was given before
                                                           27   force was used. (Nelson v. City of Davis (9th Cir. 2012) 685 F.3d 867, 882 (“[W]e
                                                           28

                                                                                                         14
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                                                            1   have held that ‘the giving of a warning or the failure to do so is a factor to be
                                                            2
                                                                considered in applying the Graham balancing test.’” (quoting Deorle v. Rutherford
                                                            3
                                                                (9th Cir. 2001) 272 F.3d 1272, 1284)). In general, the Ninth Circuit has
                                                            4
                                                                recognized that an officer must give a warning before using deadly force
                                                            5

                                                            6   “whenever practicable.” (Harris v. Roderick (9th Cir. 1997) 126 F.3d 1189, 1201

                                                            7   (citing Tennessee v. Garner (1985) 471 U.S. 1, 11-12).
                                                            8         In Deorle, the Ninth Circuit held that the absence of either a warning or an
                                                            9
                                                                order to halt was a factor in its application of the Graham balancing test. (Deorle,
                                                           10
                                                                supra, 272 F.3d at 1283-84); cf. Forrester v. City of San Diego (9th Cir. 1994) 25
                                                           11
                                                                F.3d 804 (holding that use of force was not unreasonable, in part because protesters
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                                                                were given warning and instructions on how to comply before force was applied)).
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                                                           14         Here, the officers gave multiple audible commands in both English and
                                                           15   Spanish to Martinez from a close distance prior to the use of deadly force. The
                                                           16
                                                                officers repeatedly implored Martinez to “drop the knife,” which provided him
                                                           17
                                                                with a simple and clear instruction on how to comply with their commands to
                                                           18
                                                                avoid the application of lethal force. Martinez actually acknowledged the officers’
                                                           19

                                                           20   entreaties to drop the knife by shaking his head side to side. Further, immediately

                                                           21   prior to the shooting, defendant Rivera shouted to his fellow officers, “I don’t want
                                                           22   to shoot him” as Martinez ignored defendant Rivera’s commands to stop
                                                           23
                                                                advancing. The officers’ instructions combined with the fact that each of the
                                                           24
                                                                officers had their pistols drawn during much of the approximately five minute
                                                           25
                                                                encounter served as a clear warning that deadly force would be used unless
                                                           26

                                                           27   Martinez dropped his knife.

                                                           28         As judged from the perspective of a reasonable officer on the scene,
                                                                                                         15
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                                                            1   Martinez had obviously heard the officers’ repeated commands as evidenced by his
                                                            2
                                                                indication that would not comply by shaking his head “no.” Despite the obvious
                                                            3
                                                                warning that the officers would use deadly force if their commands were not
                                                            4
                                                                obeyed, Martinez’s actions demonstrated to a reasonable officer his intent to ignore
                                                            5

                                                            6   the commands and instead to use deadly violence, first against himself and then

                                                            7   against Officer Rivera.
                                                            8         These facts are entirely distinguishable from Deorle which involved an
                                                            9
                                                                officer’s use of a beanbag gun to subdue a person who “was unarmed, had not
                                                           10
                                                                attacked or even touched anyone, had generally obeyed the instructions given him
                                                           11
                                                                by various police officers, and had not committed any serious offense.” (Deorle,
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                                                                supra, 272 F.3d at 1281). Unlike Deorle, Martinez was dangerous, recalcitrant,
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                                                           13

                                                           14   and threatening. (See City and County of San Francisco, Calif. v. Sheehan (2015)
                                                           15   135 S. Ct. 1765, 1776). Therefore, the officers gave Martinez more than sufficient
                                                           16
                                                                warnings and instructions on how to comply to avoid the use of deadly force, and
                                                           17
                                                                the fact that those warnings and instructions went unheeded is an objective factor
                                                           18
                                                                justifying defendants’ use of force.
                                                           19

                                                           20            c. No Liability for Alleged Tactical Errors Prior to the Use of Deadly

                                                           21                 Force
                                                           22         Plaintiffs will also likely argue that the officers should have used a Taser,
                                                           23
                                                                pepper spray, a beanbag shotgun or other less-lethal force to take custody of
                                                           24
                                                                Martinez, and that failure gives rise to a Fourth Amendment claim. However, the
                                                           25
                                                                Ninth Circuit has rejected this notion when the use of deadly force was otherwise
                                                           26

                                                           27   reasonable:
                                                                              “Requiring officers to find and choose the least intrusive
                                                           28

                                                                                                         16
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                                                            1
                                                                      alternative would require them to exercise superhuman judgment. In
                                                                      the heat of battle with lives potentially in the balance, an officer
                                                            2
                                                                      would not be able to rely on training and common sense to decide
                                                            3         what would best accomplish his mission. Instead, he would need to
                                                            4         ascertain the least intrusive alternative (an inherently subjective
                                                                      determination) and choose that option and that option only. Imposing
                                                            5
                                                                      such a requirement would inevitably induce tentativeness by officers,
                                                            6         and thus deter police from protecting the public and themselves. It
                                                            7         would also entangle the courts in endless second-guessing of police
                                                                      decisions made under stress and subject to the exigencies of the
                                                            8
                                                                      moment. Officers thus need not avail themselves of the least intrusive
                                                            9         means of responding to an exigent situation; they need only act within
                                                           10         that range of conduct we identify as reasonable.”
                                                           11   (Scott v. Henrich, 39 F.3d 912, 915 (9th Cir. 1992) (italics in original); see also,
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                                                                Plakas v. Drinski, 19 F.3d 1143, 1148-49 (7th Cir. 1993) (“... where deadly force is
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                                                           13
                                                                otherwise justified under the Constitution, there is no constitutional duty to use
                                                           14
                                                                non-deadly alternatives first.”).
                                                           15

                                                           16         Moreover, even when pre-shooting tactics contribute to the ultimate need to

                                                           17   use deadly force, such tactics are not themselves actionable unless they constitute
                                                           18   an independent constitutional violation. (Billington v. Smith (9th Cir. 2002) 292
                                                           19
                                                                F.3d 1177, 1189-90). Because the failure to bring less lethal equipment to a crime
                                                           20
                                                                scene is not an independent Fourth Amendment violation, it is not actionable under
                                                           21
                                                                Billington. (See, David v. City of Fremont, 2006 U.S. Dist. LEXIS 57211 at *28-
                                                           22

                                                           23   34 (N.D. Cal. 2006) (tactics of officer responding to suicidal man with a knife who

                                                           24   did not wait for less lethal options to arrive before confronting and ultimately
                                                           25   shooting the man in self defense were not independent constitutional violations).
                                                           26

                                                           27

                                                           28

                                                                                                         17
                                                                                  DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1   IV.   PLAINTIFFS LACK STANDING ON THE FOURTH AMENDMENT
                                                            2
                                                                   CLAIM
                                                            3
                                                                      In the First Claim for Relief, Plaintiffs assert a wrongful death action under
                                                            4
                                                                the Fourth Amendment for unlawful seizure of the decedent. However, Fourth
                                                            5

                                                            6   Amendment rights may not be vicariously asserted; they are personal to the

                                                            7   decedent. (Smith v. City of Fontana (9th Cir. 1987) 818 F.2d 1411, 1417).
                                                            8   Therefore, although the executor may maintain a survival action, Plaintiff Molina
                                                            9
                                                                cannot assert a claim individually because there is no allegation that she was
                                                           10
                                                                personally subjected to an unlawful seizure or use of force. (Ibid).
                                                           11
                                                                      “In § 1983 actions, . . . the survivors of an individual killed as a result of an
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                                                                officer’s excessive use of force may assert a Fourth Amendment claim on that
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                                                           13

                                                           14   individual’s behalf if the relevant state’s law authorizes a survival action. The party
                                                           15   seeking to bring a survival action bears the burden of demonstrating that a
                                                           16
                                                                particular state’s law authorizes a survival action and that the plaintiff meets that
                                                           17
                                                                state’s requirements for bringing a survival action.” (Hayes v. County of San
                                                           18
                                                                Diego (9th Cir. 2013) 736 F.3d 1223, 1228, quoting Moreland v. Las Vegas Metro.
                                                           19

                                                           20   Police Dep’t. (9th Cir. 1998) 159 F.3d 365, 369 (internal citation omitted).

                                                           21          “California’s statutory requirements for standing to bring a survival action
                                                           22   are stated under Code of Civil Procedure § 377.30: ‘A cause of action that survives
                                                           23
                                                                the death of the person entitled to commence an action or proceeding passes to the
                                                           24
                                                                decedent’s successor in interest . . . , and an action may be commenced by the
                                                           25
                                                                decedent’s personal representative or, if none, by the decedent’s successor in
                                                           26

                                                           27   interest.’ (Tatum v. City & Cnty. of San Francisco (9th Cir. 2006) 441 F.3d 1090,

                                                           28   1093 n.2) (“Where there is no personal representative for the estate, the decedent’s
                                                                                                         18
                                                                                  DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1   ‘successor in interest’ may prosecute the survival action if the person purporting to
                                                            2
                                                                act as successor in interest satisfies the requirements of California law . . . .”)
                                                            3
                                                                (citing Cal. Civ. Proc. Code §§ 377.30, 377.32), see also, Hayes v. County of San
                                                            4
                                                                Diego, supra, 736 F. 3d at 1228).
                                                            5

                                                            6         Here, despite the pleadings, Plaintiff Molina does not represent the estate of

                                                            7   the decedent and is not its successor in interest. She has not filed an affidavit
                                                            8   asserting standing for maintaining an action for survival in the State of California.
                                                            9
                                                                (See, Cal. Civ. Proc. Code § 377.32). Moreover, she has admitted in written
                                                           10
                                                                discovery that she has no documents establishing that she is representing the estate.
                                                           11
                                                                In contrast, the decedent was survived by a wife and children, who did file an
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                                                                affidavit asserting their status as successors in interest to the estate in an action in
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                                                           13

                                                           14   the Los Angeles Superior Court for the same incident. Furthermore, neither
                                                           15   Plaintiff nor his wife believes the decedent had a will. Therefore, there is no
                                                           16
                                                                evidence Plaintiffs have a right to recover on behalf of the decedent for his
                                                           17
                                                                personal cause of action and the Fourth Amendment claim must be dismissed.
                                                           18
                                                                V.    PLAINTIFFS’ CLAIM OF INTERFERENCE WITH FAMILIAL
                                                           19

                                                           20      INTEGRITY FAILS

                                                           21         In Kelson v. City of Springfield (9th Cir.1985) 767 F.2d 651, the Ninth
                                                           22   Circuit held that the state’s interference with parents’ liberty interest in the
                                                           23
                                                                companionship and society of their children without due process of law is
                                                           24
                                                                cognizable under 42 U.S.C. § 1983. (Id. at 654). “[S]ubstantive due process
                                                           25
                                                                claim[s] may be asserted by both the parents and children of a person killed by law
                                                           26

                                                           27   enforcement officers.” (Moreland v. Las Vegas Metro. Police Dep’t (9th Cir. 1998)

                                                           28   159 F.3d 365, 371).
                                                                                                         19
                                                                                  DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1         However, substantive due process violations under the Fourteenth
                                                            2
                                                                Amendment occur only when official conduct “shocks the conscience.” (Gantt v.
                                                            3
                                                                City of L.A. (9th Cir. 2013) 717 F.3d 702, 707 (citing Wilkinson v. Torres (9th Cir.
                                                            4
                                                                2010) 610 F.3d 546, 554)). Under the overarching test of whether the official’s
                                                            5

                                                            6   conduct “shocks the conscience” are two standards: the more demanding “purpose

                                                            7   to harm” standard and the lesser “deliberate indifference” standard. (Porter v.
                                                            8   Osborn (9th Cir. 2008) 546 F.3d 1131, 1137 (applying purpose to harm standard
                                                            9
                                                                when police officer killed suspect during quickly escalating investigation of
                                                           10
                                                                suspicious vehicle)). To determine which of the two standards govern, courts look
                                                           11
                                                                at the context of the events leading to the deprivation. (Id.) The critical
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                                                                consideration is whether the circumstances are such that actual deliberation by the
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                                                           13

                                                           14   officer is practical. (Hayes v. Cnty. of San Diego (9th Cir. 2013) 736 F.3d 1223,
                                                           15   1230). “Where actual deliberation is practical, then an officer’s ‘deliberate
                                                           16
                                                                indifference’ may suffice to shock the conscience. On the other hand, where a law
                                                           17
                                                                enforcement officer makes a snap judgment because of an escalating situation, his
                                                           18
                                                                conduct may only be found to shock the conscience if he acts with a purpose to
                                                           19

                                                           20   harm unrelated to legitimate law enforcement objectives.” (Wilkinson, 610 F.3d at

                                                           21   554 (citing Porter, 546 F.3d at 1137)).
                                                           22         When the alleged violation arises out of “fast paced circumstances
                                                           23
                                                                presenting competing public safety obligations,” the purpose to harm standard
                                                           24
                                                                applies. (Porter, 546 F.3d at 1139). Due to the unforeseen circumstances
                                                           25
                                                                demanding an officer’s instant judgment, “even precipitate recklessness fails to
                                                           26

                                                           27   inch close enough to harmful purpose” to shock the conscience. (County of

                                                           28   Sacramento v. Lewis (1998) 523 U.S. 833, 853 (finding no substantive due process
                                                                                                         20
                                                                                  DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1   violation when patrol car rammed and killed 16-year-old suspected offender
                                                            2
                                                                following high-speed chase). Because the purpose to harm standard is a subjective
                                                            3
                                                                standard of culpability, an officer violates due process if he uses force with “only
                                                            4
                                                                an illegitimate purpose in mind,” such as bullying a suspect or getting even. (A.D.
                                                            5

                                                            6   v. Calif. Hwy. Patrol (2013) 712 F.3d 446, 453).

                                                            7         Here, the officers were confronted with a quickly-evolving scenario that
                                                            8   demanded instant judgments such that the purpose to harm standard applies. As
                                                            9
                                                                there is undisputedly no evidence from which to infer that the defendant officers
                                                           10
                                                                acted with any illegitimate purpose in mind or ulterior motive, plaintiffs’ second
                                                           11
                                                                cause of action fails.
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                                                                VI.   PLAINTIFFS’ CLAIM OF MUNICIPAL LIABILITY FOR
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                                                           13

                                                           14      UNCONSTITUTIONAL CUSTOMS AND PRACTICES FAILS
                                                           15         It is well-established that a local governmental entity such as the City cannot
                                                           16
                                                                be liable for damages pursuant to 42 U.S.C. §1983 based solely upon a theory of
                                                           17
                                                                respondeat superior. (Monell v. Dept. of Soc. Serv. (1978) 436 U.S. 658). Instead,
                                                           18
                                                                plaintiffs have the burden of proving that the underlying civil rights violation
                                                           19

                                                           20   existed and was caused by a permanent and well-settled official policy or custom

                                                           21   of the public entity. (City of St. Louis v. Praprotnik (1988) 485 U.S. 112). A
                                                           22   municipality can be liable under Section 1983 only where its policies are the
                                                           23
                                                                moving force behind the constitutional violation. (City of Canton v. Harris (1989)
                                                           24
                                                                489 U.S. 378, 389; Blair v. City of Pomona (9th Cir. 2000) 223 F.3d 1074). There
                                                           25
                                                                must be an affirmative link between the policy and the particular violation alleged.
                                                           26

                                                           27   (Oklahoma v. Tuttle (1995) 471 U.S. 808, 823).

                                                           28         To establish Monell liability for a failure to train or adequately supervise
                                                                                                         21
                                                                                  DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
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                                                            1   subordinates, the evidence must show a pattern of inadequate training which
                                                            2
                                                                amounts to the deliberate indifference to rights of persons with whom the
                                                            3
                                                                inadequately trained employees come into contact. (City of Canton, supra; Davis v.
                                                            4
                                                                City of Ellenburg (9th Cir. 1989) 869 F.2d 1239). Moreover, there is no liability
                                                            5

                                                            6   pursuant to Section 1983 for negligence and such liability must be predicated upon

                                                            7   a deliberate deprivation of constitutional rights by defendant. Neither negligent
                                                            8   training of an employee nor a sound program occasionally administered
                                                            9
                                                                negligently constitutes deliberate indifference. (City of Canton, supra, at 391).
                                                           10
                                                                       Finally, even if there was a violation of plaintiffs’ rights, a single isolated
                                                           11
                                                                incident does not establish official policy sufficient to render the municipality
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                                                                liable under Section 1983. (Trevino v. Gates (9th Cir. 1996) 99 F.3d 911, 918;
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                                                           13

                                                           14   Adell v. Las Vegas Metro Pol. Dept. (9th Cir. 2001) 268 F.3d 924). Proof of
                                                           15   random acts or isolated incidents of unconstitutional action by a non-policymaking
                                                           16
                                                                employee are insufficient to establish the existence of a municipal policy or
                                                           17
                                                                custom. (McDade v. West (9th Cir. 2000) 223 F.3d 1135, 1141).
                                                           18
                                                                      Here, plaintiffs offer only conclusory allegations but no facts establishing
                                                           19

                                                           20   either 1) an underlying constitutional violation, or 2) that any such violation

                                                           21   occurred as a result of a permanent and well-settled official policy or custom of the
                                                           22   City. Moreover, even if plaintiffs’ rights were violated, plaintiffs have offered no
                                                           23
                                                                evidence establishing that such a violation was anything other than a random,
                                                           24
                                                                isolated event. As such, this claim fails and should be dismissed as to the City.
                                                           25
                                                                      Plaintiffs will argue that failure at the time of the incident to require all
                                                           26

                                                           27   officers to carry Tasers on their persons at all times was an unconstitutional policy.

                                                           28   However, no case has ever so held, and courts have found to the contrary. In
                                                                                                         22
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                                                            1    Plakas, supra, 19 F.3d at 1148-49, the Court held that there was “not a single
                                                            2
                                                                 precedent which holds that a governmental unit has a constitutional duty to supply
                                                            3
                                                                 particular forms of equipment to police officers.” More recently, in Castro v. City
                                                            4
                                                                 of Mendota, 2012 U.S. Dist. LEXIS 138699, *33-34 (E.D. Cal. 2012), the Court
                                                            5

                                                            6    granted summary judgment on a Monell claim based on failure to equip deputies

                                                            7    with Tasers, noting the lack of authority for such a proposition and that the officers
                                                            8    had other options available that consisted of pepper spray, batons, physical force,
                                                            9
                                                                 and a beanbag shotgun (which they carried inside their car). In light of the
                                                           10
                                                                 foregoing, it cannot be said that the City was deliberately indifferent for not
                                                           11
                                                                 imposing an absolute requirement that officers carry Tasers on their persons at all
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                                                                 times on the date of the incident.
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                                                           13

                                                           14          Nor can Plaintiffs establish that the lack of such a policy caused Martinez to
                                                           15    be shot. It is speculative as to whether the officers would have felt that a Taser
                                                           16
                                                                 was safe to use under the circumstances presented or if a Taser would have been
                                                           17
                                                                 effective. This lack of a causal connection also is fatal to Plaintiffs’ Monell claim.
                                                           18
                                                                VII.   THE INDIVIDUAL DEFENDANTS ARE ENTITLED TO
                                                           19

                                                           20       QUALIFIED IMMUNITY

                                                           21          The individual Defendants are entitled to qualified immunity pursuant to the
                                                           22    “good faith exception.” “Government officials performing discretionary functions
                                                           23
                                                                 generally are shielded from liability for civil damages insofar as their conduct does
                                                           24
                                                                 not violate clearly established statutory or constitutional rights of which a
                                                           25
                                                                 reasonable person would have known.” (Harlow v. Fitzgerald (1982) 457 U.S.
                                                           26

                                                           27    800, 818). If the law governing the conduct was clearly established, the court then

                                                           28    looks to whether, under that law, a reasonable officer could have believed the
                                                                                                          23
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                                                            1   conduct was lawful. (Harlow, supra, at 818; Act Up!/Portland v. Bagley (9th Cir.
                                                            2
                                                                1993) 988 F.2d 868, 871).
                                                            3
                                                                      So long as “a reasonable officer could have believed that his conduct was
                                                            4
                                                                justified,” a plaintiff cannot “avoi[d] summary judgment by simply producing an
                                                            5

                                                            6   expert’s report that an officer’s conduct leading up to a deadly confrontation was

                                                            7   imprudent, inappropriate, or even reckless.” (Billington v. Smith (9th Cir. 2002)
                                                            8   292 F.3d 1177, 1189; Saucier v. Katz, supra, 533 U.S. at 216, n. 6 (“‘[I]n close
                                                            9
                                                                cases, a jury does not automatically get to second-guess these life and death
                                                           10
                                                                decisions, even though a plaintiff has an expert and a plausible claim that the
                                                           11
                                                                situation could better have been handled differently’”(quoting Roy v. Inhabitants of
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                                                                Lewiston (First Cir. 1994) 42 F.3d 691, 695)).
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                                                           13

                                                           14         In the recent case of City and County of San Francisco, Calif. v. Sheehan
                                                           15   (2015) 135 S. Ct. 1765, the Supreme Court considered the issue of qualified
                                                           16
                                                                immunity in a factual scenario similar to the one presented here. In that case, the
                                                           17
                                                                Supreme Court held that the officers were entitled to qualified immunity, in part,
                                                           18
                                                                because under Ninth Circuit law “Sheehan cannot ‘establish a Fourth Amendment
                                                           19

                                                           20   violation based merely on bad tactics that result in a deadly confrontation that

                                                           21   could have been avoided.’” (Id. at 1777 (citing Billington, supra, 292 F.3d 1177 at
                                                           22   1190)). Similarly, plaintiffs cannot establish a Fourth Amendment violation here
                                                           23
                                                                based merely upon an allegation of bad tactics. Defendants could not have known
                                                           24
                                                                that the failure to first use a Taser before using deadly force when confronted by a
                                                           25
                                                                suspect with a knife would violate plaintiffs’ constitutional rights. Without “fair
                                                           26

                                                           27   notice,” an officer is entitled to qualified immunity. (See, Plumhoff v. Rickard

                                                           28   (2014) 134 S.Ct. 2012, 2023).
                                                                                                        24
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                                                            1         Considering the specific deadly situation confronting these defendant
                                                            2
                                                                officers as discussed above, they had sufficient reason to believe that their conduct
                                                            3
                                                                was justified. As defendants’ actions were in no way contrary to existing law, they
                                                            4
                                                                are therefore entitled to qualified immunity.
                                                            5

                                                            6 VIII. CONCLUSION

                                                            7         Defendants respectfully request that the court grant their motion for
                                                            8   summary judgment in its entirety. Based on the undisputed facts of this case,
                                                            9
                                                                plaintiffs’ claims have no merit against any of these named defendants. Therefore,
                                                           10
                                                                defendants are entitled to summary judgment on all claims and all causes of action
                                                           11
                                                                set forth in plaintiffs’ FAC. In the alternative, defendants request partial summary
                TEL. (424) 212-7777 | FAX (424) 212-7757
                 21515 HAWTHORNE BLVD., SUITE 800




                                                           12
                   A PROFESSIONAL CORPORATION

                    TORRANCE, CALIFORNIA 90503




                                                                judgment as to each cause of action.
COLLINSON LAW




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                                                                DATED: January 13, 2017          COLLINSON LAW, A Professional Corporation

                                                           16                                    By: _______/s/___________________
                                                           17
                                                                                                      Laura E. Inlow, Esq.
                                                                                                      Matthew W. McAleer, Esq.
                                                           18                                         Attorneys for Defendants,
                                                           19                                         Ricardo Huerta, Rudolph Rivera, and
                                                                                                      Aldo Quintero
                                                           20

                                                           21   DATED: January 13, 2017          MICHAEL N. FEUER, City Attorney
                                                                                                 THOMAS H. PETERS, Chief Assistant City
                                                           22                                    Attorney
                                                           23                                    CORY M. BRENTE, Assistant City Attorney

                                                           24                                    By: _________/s/________________________
                                                           25                                          RENA M. SHAHANDEH, Deputy City
                                                                                                       Attorney
                                                           26                                          Attorneys for City of Los Angeles
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                                                                                 DEFENDANTS’ JOINT MOTION FOR SUMMARY JUDGMENT
